                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:11-00194
                                                  )           JUDGE CAMPBELL
MAURICE ROGER THOMPSON                            )


                                              ORDER

       Pending before the Court is the Defendant’s Motion To Appoint Additional Counsel

(Docket No. 689). Through the Motion, the Defendant seeks additional counsel on the grounds

that this case is extended and complex, and that counsel anticipates the birth of his first child at

some point during the trial.

       The Motion is DENIED. This case is not so complex as to require the appointment and

payment of a second attorney. If counsel has a personal conflict, he should file a motion to

withdraw.

       It is so ORDERED.


                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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